Case: 4:16-cv-00172-SNLJ Doc. #: 395 Filed: 12/27/18 Page: 1 of 1 PageID #: 9349
                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                          No: 18-8001

         Ronald McAllister, on behalf of himself and all others similarly situated, et al.

                                                 Respondents

                                                v.

 The St. Louis Rams LLC, A Delaware General Partnership, doing business as St. Louis Rams
                                     Partnership

                                                     Petitioner


______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                  (4:16-cv-00172-SNLJ)
                                  (4:16-cv-00262-SNLJ)
                                  (4:16-cv-00297-SNLJ)
______________________________________________________________________________

                                            ORDER


       The request to hold the pending motion in indefinite abeyance is granted.


                                                       December 27, 2018




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




   Appellate Case: 18-8001        Page: 1       Date Filed: 12/27/2018 Entry ID: 4739931
